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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


  THE LINCOLN ELECTRIC COMPANY and
  LINCOLN GLOBAL, INC.,

                       Plaintiffs,

  v.                                                     Civil Action No. 2:15-CV-1404

  THE ESAB GROUP, INC. and
  ESAB AB,

                       Defendants.


            ORDER GRANTING JOINT MOTION TO STAY ALL DEADLINES

         Before the Court is Plaintiffs’, The Lincoln Electric Company and Lincoln Global, Inc.’s,
  .
  and Defendants’, The ESAB Group, Inc. and ESAB AB’s, Joint Motion to Stay All Deadlines

  and Notice of Signed Settlement Agreement. The Court, having considered the Joint Motion, is

  of the opinion that the motion should be GRANTED.

         It is therefore, ORDERED that the Joint Motion to Stay All Deadlines be and is hereby

  GRANTED, and that all deadlines as of January 6, 2017, applicable between Plaintiffs and

  Defendants are stayed up to and through January 31, 2017, so that the Court may enter the

  Consent Judgment and Injunction and Defendants can make payment under the terms of the

  signed settlement agreement.
          SIGNED this 3rd day of January, 2012.
         SIGNED this 9th day of January, 2017.




                                                     ____________________________________
                                                     ROY S. PAYNE
                                                     UNITED STATES MAGISTRATE JUDGE
